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COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
FUND ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                        §
                                               §
                                                                  Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                  §
 L.P.                                          §
                                                           Case No. 19-34054-sgj11
                                               §
           Debtor.                             §
                                               §
 HIGHLAND CAPITAL MANAGEMENT,                  §
 L.P.,                                         §
                                               §
           Plaintiff,                          §
                                               §
 v.                                            §            Adv. No. 21-03010-sgj
                                               §
 HIGHLAND CAPITAL MANAGEMENT                   §
 FUND ADVISORS, L.P. and NEXPOINT              §
 ADVISORS, L.P.,                               §
                                               §
           Defendants.                         §

             DEFENDANTS’ AGREED MOTION FOR STAY PENDING APPEAL

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COME NOW NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. (together, the “Defendants”), the defendants in the above styled and numbered Adversary

Proceeding, and file this their Agreed Motion for Stay Pending Appeal, respectfully stating as

follows:


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        1.      On September 14, 2022, the Court entered its Judgment [docket no. 126] (the

“Judgment”) against the Defendants and in favor of Highland Capital Management, L.P. (the

“Plaintiff”).   Among other things, the Judgment awards the Plaintiff money damages of

$840,000.00 against NexPoint Advisors, L.P. and $1,756,000.00 against Highland Capital

Management Fund Advisors, L.P., together with postjudgment interest.

        2.      On September 20, 2022, the Defendants timely filed their Joint Notice of Appeal,

thus appealing the Judgment.

        3.      Because the Judgment is a money judgment, the Defendants have a right to a stay

of the Judgment pending appeal, provided that they post sufficient security. See Fed. R. Civ. P.

62(b); Hebert v. Exxon Corp., 953 F.2d 936, 938 (5th Cir. 1992) (“This provision of Rule 62

entitles a party appealing a money judgment to an automatic stay upon posting a supersedeas

bond”).

        4.      The Defendants have negotiated a form of agreed order staying the Judgment

pending appeal with the Plaintiff, and the Defendants have obtained issuance of supersedeas bonds

from the Arch Insurance Company. The bonds include postjudgment interest of two years.

Additionally, the parties have agreed that the Defendants would be required to provide additional

security, should the stay last for more than eighteen (18) months, equal to twelve (12) months of

additional postjudgment interest at the federal postjudgment interest rate in effect on March 14,

2024.

        5.      Accordingly, the Defendants respectfully request that the Court entered the

proposed Agreed Order Conditionally Staying Judgment Pending Appeal attached hereto and

uploaded concurrently herewith.




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         RESPECTFULLY SUBMITTED this 7th day of October, 2022.

                                                   MUNSCH HARDT KOPF & HARR, P.C.

                                                   By: /s/ Davor Rukavina
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                                                   ATTORNEYS FOR NEXPOINT ADVISORS,
                                                   L.P. AND HIGHLAND CAPITAL
                                                   MANAGEMENT FUND ADVISORS, L.P.




                                       CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this the 7th day of October, 2022, true and correct
copies of this document and proposed agreed order were electronically served by the Court’s ECF
system on all parties entitled to notice thereof, including the Plaintiff, through its counsel of record,
including John Morris, Esq.

                                                          By: /s/ Davor Rukavina
                                                                  Davor Rukavina, Esq.




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